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              EXHIBIT A
             Case: 1:18-op-45652-DAP Doc #: 11-1 Filed: 05/05/20 2 of 8. PageID #: 245


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Allegany County, Maryland                               )
                                  Plaintiff                                )
                         v.                                                )       Civil Action No. 1:18-op-45652
       AmerisourceBergen Drug Corporation, et al.                          )
                                Defendant                                  )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             07/11/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date: 8/7/2019                                                                        /s/ Paul J. Cosgrove
                                                                                          Signature of the attorney or unrepresented party
       Amneal Pharmaceuticals LLC                                                                        Paul J. Cosgrove
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                     Ulmer & Berne, LLP
                                                                                                  600 Vine Street, Suite 2800
                                                                                                    Cincinnati, Ohio 45202
                                                                                                                Address
                                                                                                     pcosgrove@ulmer.com
                                                                                                            E-mail address
                                                                                                          (513) 698-5000
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-45652-DAP Doc #: 11-1 Filed: 05/05/20 3 of 8. PageID #: 246


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Allegany County, Maryland                               )
                                  Plaintiff                                )
                         v.                                                )       Civil Action No. 1:18-op-45652
       AmerisourceBergen Drug Corporation, et al.                          )
                                Defendant                                  )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers or motions under Rule 12.
Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an answer or
motion under Rule 12 will not be grounds for a default judgment.

            8/12/2019
 Date:                                                                                                s/ Christopher Essig
         Hikma Pharmaceuticals USA Inc. f/k/a                                             Signature of the attorney or unrepresented party
          West-Ward Pharmaceuticals, Corp.                                                              Christopher Essig
       Printed name of party waiving service of summons                                                      Printed name
                                                                                                  WINSTON & STRAWN LLP
                                                                                                     35 W. Wacker Drive
                                                                                                      Chicago, IL 60601
                                                                                                                Address
                                                                                                      CEssig@winston.com
                                                                                                            E-mail address
                                                                                                          (312) 558-5600
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
               Case: 1:18-op-45652-DAP Doc #: 11-1 Filed: 05/05/20 4 of 8. PageID #: 247

AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                       for the
                                                           Northern District of Ohio
                                                     __________  District of __________

Allegany County, Maryland                                                    )
                              Plaintiff                                      )
                       v.                                                    )   Civil Action No. 1:18-op-45652
AmerisourceBergen Drug Corporation, et al.                                   )
                            Defendant                                        )

                                            WAIVER OF THE SERVICE OF SUMMONS

To: J. Burton LeBlanc, IV
             (Name of the plaintiff’s attorney or unrepresented plaintiff)

       I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

         I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.

      7KH&RXUW¶VPRUDWRULXPRQDOOILOLQJVLQFOXGHVDPRUDWRULXPRQWKHILOLQJRIDQVZHUVRUPRWLRQVXQGHU5XOH
'HIHQGDQWV ZLOO QRW DQVZHU RU PRYH XQGHU 5XOH  XQOHVV VR RUGHUHG E\ WKH &RXUW  7KH IDLOXUH WR ILOH DQ DQVZHU RU
PRWLRQXQGHU5XOHZLOOQRWEHJURXQGVIRUDGHIDXOWMXGJPHQW

Date: 8/2/2019
                                                                                            Signature of the attorney or unrepresented party

Mylan Pharmaceuticals Inc.                                                        Rebecca C. Mandel
       Printed name of party waiving service of summons                                                       Printed name
                                                                                  Hogan Lovells US LLP
                                                                                  555 13th Street NW
                                                                                  Washington, D.C. 20004
                                                                                                                 Address
                                                                                  rebecca.mandel@hoganlovells.com
                                                                                                             E-mail address

                                                                                  202-637-5488
                                                                                                           Telephone number

                                           Duty to Avoid Unnecessary Expenses of Serving a Summons

          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.

          “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.

           If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-45652-DAP Doc #: 11-1 Filed: 05/05/20 5 of 8. PageID #: 248


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Allegany County, Maryland                               )
                                  Plaintiff                                )
                         v.                                                )       Civil Action No. 1:18-op-45652
       AmerisourceBergen Drug Corporation, et al.                          )
                                Defendant                                  )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             07/12/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:          07/19/2019                                                                                /s/ Sean Morris
                                                                                          Signature of the attorney or unrepresented party
         Par Pharmaceutical Companies, Inc.                                                                 Sean Morris
       Printed name of party waiving service of summons                                                      Printed name
                                                                                             Arnold & Porter Kaye Scholer LLP
                                                                                             777 S. Figueroa Street, 44th Floor
                                                                                               Los Angeles, California 90017
                                                                                                                Address
                                                                                               sean.morris@arnoldporter.com
                                                                                                            E-mail address
                                                                                                          (213) 243-4000
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
             Case: 1:18-op-45652-DAP Doc #: 11-1 Filed: 05/05/20 6 of 8. PageID #: 249


 AO 399 (01/09) Waiver of the Service of Summons



                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                            Northern District of Ohio

                   Allegany County, Maryland                               )
                                  Plaintiff                                )
                         v.                                                )       Civil Action No. 1:18-op-45652
       AmerisourceBergen Drug Corporation, et al.                          )
                                Defendant                                  )


                                                   WAIVER OF THE SERVICE OF SUMMONS

 To:        J. Burton LeBlanc, IV
                (Name of the plaintiff’s attorney or unrepresented plaintiff)

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
          I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the court’s
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entity I represent, must file and serve an answer or a motion under Rule 12 within
60 days from             07/12/2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:          07/19/2019                                                                               /s/ Sean Morris
                                                                                          Signature of the attorney or unrepresented party
                  Par Pharmaceutical, Inc.                                                                  Sean Morris
       Printed name of party waiving service of summons                                                      Printed name
                                                                                             Arnold & Porter Kaye Scholer LLP
                                                                                             777 S. Figueroa Street, 44th Floor
                                                                                               Los Angeles, California 90017
                                                                                                                Address
                                                                                               sean.morris@arnoldporter.com
                                                                                                            E-mail address
                                                                                                          (213) 243-4000
                                                                                                          Telephone number


                                              Duty to Avoid Unnecessary Expenses of Serving a Summons
          Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving a summons
and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested by a plaintiff located in
the United States will be required to pay the expenses of service, unless the defendant shows good cause for the failure.
           “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that the court has
no jurisdiction over this matter or over the defendant or the defendant’s property.
        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the absence of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a summons had been served.
            Case: 1:18-op-45652-DAP Doc #: 11-1 Filed: 05/05/20 7 of 8. PageID #: 250



     AO 399 (01/09) Waiver ofthe Servico ofSrunnons




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                                                                                for the
                                                                       Northern District of Ohio

                      Allegany County, Maryland                                       )
                                      Plaintiff                                       )
                                                                                      )        Civil Action No. 1:18-op-45652
          AmerisourceBergen Drug Corporation, et al                                   )
                                                                                      )


                                                       WAIVER OF THE SERVICE OF SUMMONS

  To:           J. Burton LeBlanc, lV
                    (Name of the     plaintif's   attorney or unrepresented      plaintffi

        I have received your request to waive service of a summons in this action along with a copy of the complaint,
two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.
              I, or the entity I represent, agree to save the expense of serving                          a summons and       complaint in this case,
          I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the courl's
jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of service.
         I also understand that I, or the entify I represent, must file and serve an answer or a motion under Rule l2 within
60 days from             07123t2019                , the date when this request was sent (or 90 days if it was sent outside the
United States). If I fail to do so, a default judgment will be entered against me or the entity I represent.


 Date:             812212019


                             SpecGX LLC
                                                                                                           %o-r
                                                                                                      Signature of the attorney or unrepresented party
                                                                                                                      Andrew O'Connor
         Printed name of party waiving service of summons                                                                    Printed name
                                                                                                                   Ropes & Gray, LLP
                                                                                                          Prudential Tower, 800 Boylston Street
                                                                                                                Boston, MA 02199-3600
                                                                                                                               Address
                                                                                                           Andrew. O'Con nor@ropesgray.com
                                                                                                                         E-mail address
                                                                                                                        (617) 951-7000
                                                                                                                        Telephone number


                                                   Duty to Avoid Unnecessary Expenses ofServing a Summons
          Rule 4 ofthe Federal Rules ofCivil Procedure requires certain defendants to cooperate in saving unnecessary expenses ofserving a summons
and complaint. A defendant who is located in the United States and who fails to retum a signed waiver ofservice requested by a plaintifflocated in
the United States will be required to pay the expenses ofservice, unless the defendant shows good cause for the failure.
              "Good cause"    does   not include   a   beliefthat the lawsuit is groundless, or that it   has been brought   in an improper venue, or that the court has
no   jurisdiction over this matter or over the defendant or the defendant's property.
         Ifthe waiver is signed and retumed, you can still make these and all other defenses and objections, but you cannot object to the absence                    of
a summons or of service.
            If you waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on the plaintiff
and file a copy with the court. By signing and retuming the waiver form, you are allowed more time to respond than if a summons had been served.
                    Case: 1:18-op-45652-DAP Doc #: 11-1 Filed: 05/05/20 8 of 8. PageID #: 251


  AO 399 (01/09) Waiver of the Service of Summons


                                          United States District Court
                                                    for the Northern District of Ohio
 Allegany County. Maryland
 Plaintiff                                                 )         Civil Action No. 1:18-op-45617
                           v.                              )
                                                           )
 AmerisourceBergen Drug Corporation, et al. )
 Defendant
                             WAIVER OF THE SERVICE OF SUMMONS
 To: J. Burton LeBlanc. IV
                 (Name of the plaintiff’s attorney or unrepresented plaintiff)

         I have received your request to waive service of a summons in this action along with a copy of the
  complaint, two copies of this waiver form, and a prepaid means of returning one signed copy of the form to you.

               I, or the entity I represent, agree to save the expense of serving a summons and complaint in this case.

           I understand that I, or the entity I represent, will keep all defenses or objections to the lawsuit, the
  court’s jurisdiction, and the venue of the action, but that I waive any objections to the absence of a summons or of
  service.
        The Court’s moratorium on all filings includes a moratorium on the filing of answers and motions under
 Rule 12. Defendants will not answer or move under Rule 12 unless so ordered by the Court. The failure to file an
 answer or motion under Rule 12 will not be grounds for a default judgment.
  Date: August           (Z. .2019                                                                                        JaJ £?
                                                                                  '^nature ofthe attorney or unrepresented party

  Value Drug Company________________                                             James R. Hankie
  Printed name ofparty waiving service of summons                                Printed name

                                                                                 Sherrard, German & Kelly, P.C.
                                                                                 535 Smithfield Street, Suite 300
                                                                                 Pittsburgh. PA 15222________
                                                                             Address
                                                                                 irh@sgkpc.com_____________
                                                                             Email address
                                                                                 412-355-0200______________
                                                                         Telephone number
                                            Duty to Avoid Unnecessary Expenses of Serving a Summons

           Rule 4 of the Federal Rules of Civil Procedure requires certain defendants to cooperate in saving unnecessary expenses of serving
 a summons and complaint. A defendant who is located in the United States and who fails to return a signed waiver of service requested
 by a plaintiff located in the United States will be required to pay the expenses of service, unless the defendant shows good cause for
 the failure.

         “Good cause” does not include a belief that the lawsuit is groundless, or that it has been brought in an improper venue, or that
the court has no jurisdiction over this matter or over the defendant or the defendant’s property.

        If the waiver is signed and returned, you can still make these and all other defenses and objections, but you cannot object to the
absence of a summons or of service.

          Ifyou waive service, then you must, within the time specified on the waiver form, serve an answer or a motion under Rule 12 on
the plaintiff and file a copy with the court. By signing and returning the waiver form, you are allowed more time to respond than if a
summons had been served.
(S1375109 I)
